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             Exhibit C
                       to Hawkins Declaration

Plaintiffs’ Reply in Further Support of Motion for Class Certification


   Michelo et al. v. Nat’l Collegiate Student Loan Trust 2007-2 et al., No. 18-CV-1781
   Bifulco et al. v. Nat’l Collegiate Student Loan Trust 2004-2 et al., No. 18-CV-7692
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                                                                  Page 1

1
           UNITED STATES DISTRICT COURT
2          SOUTHERN DISTRICT OF NEW YORK
           Civil Action No. 1:18-cv-017819(PGG)
3          - - - - - - - - - - - - - - - - - - -x
4          MUTINTA MICHELO, KATHERINE SEAMAN,
           MARY RE SEAMAN, and SANDRA TABAR,
5          individually and on behalf of all
           others similarly situated
6
                                     Plaintiffs,
7
8                        -against-
9
           NATIONAL COLLEGIATE STUDENT LOAN TRUST
10         2007-2, NATIONAL COLLEGIATE
           STUDENT LOAN TRUST 2007-3;
11         TRANSWORLD SYSTEMS, INC. in its own
           right and as successor to NCO FINANCIAL
12         SYSTEMS, INC.; EGS FINANCIAL CARE INC.,
           formerly known as NCO FINANCIAL SYSTEMS,
13         INC; and FORSTER & GARBUS LLP,
14                          Defendants.
15         - - - - - - - - - - - - - - - - - - -x
           [Second caption on following page]
16
17                                   February 13, 2020
                                     10:03 a.m.
18
19              Deposition of BRADLEY LUKE,
20         taken by Plaintiffs, pursuant to
21         Notice, held at the offices of
22         Veritext Legal Solutions LLP, 1250
23         Broadway, New York, New York, before
24         Kathleen Piazza Luongo, a Notary
25         Public of the State of New York.

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1                              Bradley Luke
2              A.      I don't recall specifically.
3              Q.      Okay.
4                      But this document came from a
5       TSI/NCO-accessible server; is that right?
6              A.      Yes.
7              Q.      Okay.
8                      Who has access to that server
9       at TSI/NCO?
10             A.      Various TSI employees have
11      access to that server, those employees
12      where their jobs relate to working on
13      behalf of the Trusts where they would
14      need access to those documents to fulfill
15      their job duties.
16             Q.      Okay.
17                     What does this document appear
18      to you to be?
19             A.      This is a pool supplement for
20      Bank One and the 2004-2 Trust wherein
21      Bank One is transferring a set of loans
22      and pool of loans to National Collegiate
23      Funding as of October 28, 2004.
24             Q.      And now you are --
25                     [Building announcement being

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1                              Bradley Luke
2              made.]
3                       MR. HAWKINS:           For the record,
4              there is a fire alarm in the
5              building.       Assuming that nobody gets
6              migraines from the flashing lights,
7              we are going to press on.                   Okay.
8              Q.       You were stating that this
9       document appears to be a pool supplement
10      transferring loans from Bank One to
11      National Collegiate Funding, LLC, which
12      we will refer to as NCF; is that right?
13             A.       Yes, sir.
14             Q.       And you referenced the date
15      listed on this document, second line from
16      the bottom of the first paragraph,
17      October 28, 2004; is that right?
18             A.       Yes, sir.
19             Q.       And you stated that the
20      receiving National Collegiate Student
21      Loan Trust is Trust 2004-2, and that is
22      from language in Article 1; is that
23      right?
24                      MR. SCHULTZ:           Object to the
25             characterization of testimony.

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1                              Bradley Luke
2              A.      Yeah, the eventual receiver
3       would be that Trust, 2004-2.                       This
4       document only takes -- it's the first
5       part of Bank One to NCF and then it
6       contemplates that further transfer.
7              Q.      Okay.
8                      Just to be clear, NCF is
9       National Collegiate Funding?
10             A.      Yes.
11             Q.      Do you see this text at the
12      upper left corner of this --
13             A.      Yes.
14             Q.      -- of this document?
15             A.      Yes, sir.
16             Q.      What is that text?
17             A.      This is a text that's tagged to
18      the file when this document is uploaded
19      and filed with the Securities and
20      Exchange Commission as part of the 8-K
21      filing for this Trust.
22             Q.      Okay.
23                     Describe how that process
24      works.
25             A.      I'm not particularly certain on

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1                              Bradley Luke
2       how the process works on uploading the
3       document to the Securities and Exchange
4       Commission.
5              Q.      How do you know that it comes
6       from the SEC?
7              A.      I've viewed the SEC's version
8       from their website and I can state that
9       this, these designations and additional
10      text in the top left of the document, um,
11      are on the SEC's version.
12             Q.      How do you know that TSI/NCO
13      uploads SEC documents into its system?
14                     MR. SCHULTZ:            Object to the
15             form of the question.
16             A.      Um, particular to the Trust,
17      TSI/NCO did not or does not upload
18      anything to SEC's website.
19             Q.      I think you're misunderstanding
20      my question.
21                     You said that this document
22      comes from a server in Las Vegas that
23      TSI/NCO has oversight of; correct?
24             A.      Yes.
25             Q.      How did that document go from

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1                              Bradley Luke
2       the SEC website onto the TSI/NCO-
3       controlled server?
4              A.      This document was downloaded
5       from the SEC and stored on the server.
6              Q.      When?
7              A.      I don't recall specifically off
8       the top of my head.
9              Q.      What folder would it be in?
10             A.      It would be in the folder for
11      the pool supplements for the 2004-2
12      Trust.
13             Q.      Okay.
14                     What is -- do you see where it
15      says 10.14?
16             A.      Yes, sir.
17             Q.      What does that text refer to?
18             A.      If I recall correctly -- I'd
19      have to confirm -- but if I recall, it's
20      the exhibit within the 8-K filing.
21                     The 8-K filing contains
22      multiple documents and this is the
23      Exhibit 10.4 within that filing.
24             Q.      Is the whole 8-K filing within
25      that folder or just this one exhibit?

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1                              Bradley Luke
2              A.      Within the pool supplement
3       folder just this exhibit.                    That pool
4       supplement folder has all the pool
5       supplements in it, but for this, the 8-K
6       filing, the other documents in that 8-K
7       filing may not be in the pool supplement
8       folder; however, other pool supplements
9       within that 8-K filing, those copies from
10      the SEC may be in that folder, but they
11      may not be.
12             Q.      Generally speaking, when would
13      this document have been uploaded to the
14      TSI/NCO server from the SEC website?
15             A.      This particular version, from
16      the SEC's website, I'm not sure.
17                     Generally -- generally the pool
18      supplements were received by NCO in and
19      around November of 2012, when they took
20      over as special subserver.                     This SEC
21      version, I'd have to go back and check to
22      see if it was in that batch or if this
23      came subsequent to, I'm not sure off the
24      top of my head.
25             Q.      Are all of the pool supplements

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1                              Bradley Luke
2       in the folder that you described uploaded
3       from the SEC website?
4              A.      No, sir.
5              Q.      Where else do they come from?
6              A.      For the most part they're
7       copies of the actual signed versions, um,
8       not the version, the text version that
9       was uploaded to the SEC's website.
10             Q.      So you have seen versions of a
11      pool supplement between Bank One and NCF
12      identifying Trust 2004-2 as the intended
13      recipient dated October 28, 2004 that do
14      not have the text marks on the upper
15      left-hand corner; is that right?
16             A.      Yes.
17             Q.      And those are in the same
18      folder as the SEC versions or in a
19      different folder?
20             A.      Generally the same folder for
21      the pool supplements.
22             Q.      Okay.
23                     MR. HAWKINS:            We are going to
24             call for the production of the
25             originals.

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1                               Bradley Luke
2                       MR. SCHULTZ:            You can call for
3              them, but make a request through the
4              proper channels and we will respond
5              accordingly.
6                       MR. HAWKINS:            On the record is
7              fully proper.          We will consider your
8              request in writing.
9                       MR. SCHULTZ:            I think you might
10             want to serve a discovery request.
11      CONTINUED EXAMINATION BY MR. HAWKINS:
12             Q.       Do you see, Mr. Luke, under
13      Article 1 on this page, Bates 8 in the
14      middle, where my mouse is pointing, where
15      it refers to an attached Schedule 2?
16             A.       Yes, sir.
17             Q.       And that would be a schedule
18      listing loans, individual loans that are
19      being transferred pursuant to this pool
20      supplement; is that correct?
21             A.       Yes, sir.
22             Q.       Okay.
23                      Can you please scroll down to
24      TSI 10.
25             A.       Yes, sir.

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1                               Bradley Luke
2              Q.       And then scroll down to TSI 11.
3              A.       Okay.
4              Q.       TSI 11 is the beginning of a
5       separate document than the pool
6       supplement we've just you been
7       discussing; is that right?
8              A.       Yes, sir.
9              Q.       At the bottom of TSI 10, do you
10      see where my mouse is pointing, Schedule
11      1, below that, asterisks, below that
12      "Confidential Treatment Requested," and
13      then that's the end of this document; is
14      that correct?
15             A.       Yes, sir.
16             Q.       So there is no Schedule 2 on
17      this document?
18                      MR. SCHULTZ:            Object to the
19             form.
20             A.       I'd have to go back and double
21      check, a page could have fallen out
22      because it's at the very bottom, so a
23      page could have misprinted, I suppose,
24      that identifies the Schedule 2; however,
25      the actual Schedule 2 is not filed with

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1                               Bradley Luke
2       the SEC, um, due to the confidential
3       nature.
4                       But I'm not sure as I sit here
5       today, I'd have to go back and check the
6       original file to see if there is a
7       placeholder designation for Schedule 2
8       similar to what we see for Schedule 1.
9              Q.       Okay.
10                      But at the very least, with the
11      SEC there would be filed a, as you said,
12      a placeholder regarding Schedule 2?
13             A.       Well, I'd have to double check
14      that.       As we stated here, it's not on
15      this production; I'd have to double check
16      to confirm whether it's on the document
17      or not on the document.
18                      I don't recall specifically
19      whether it is or not as I sit here.
20             Q.       Why would that page be missing?
21                      MR. SCHULTZ:            Objection to the
22             extent it calls for speculation.
23             A.       Yeah, I'm not 100 percent
24      certain, um, why it would be missing or
25      even if it is missing.                  Like I said, I'd

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1                               Bradley Luke
2       have to go back and check the file.
3              Q.       Are schedules listing
4       individual loans ever provided to the SEC
5       in 8-K filings?
6              A.       Not to my knowledge.
7              Q.       But to your knowledge, a
8       document like a pool supplement
9       invariably has a placeholder for Schedule
10      2; is that right?
11                      MR. SCHULTZ:            Object to the
12             form.     Mischaracterization of
13             testimony.
14             A.       I've seen instances where it
15      has a similar designation as Schedule 1
16      or Schedule 2.           I can't state for the
17      certain whether they all have it or
18      whether this one had it.
19             Q.       Okay.
20                      Can you think of instances
21      where there was a reference to a
22      placeholder with no attachment at the
23      bottom?
24             A.       Can you clarify your question?
25      I'm sorry.

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1                               Bradley Luke
2              when I find it.
3                       MR. HAWKINS:            I've lost
4              internet connection so I'm going to
5              reconnect, and if we need to take a
6              break we will.
7                       I'm now marking as Exhibit 8
8              what has been produced in response to
9              plaintiffs' discovery demands as TSI
10             79 through 179, a pdf identified as
11             Butry 2004-2.
12                      MR. CASAMENTO:              Just note that
13             for the record NCSLT_000102 through
14             NCSLT_000108 is the original version
15             of the pool supplement.
16                      MR. HAWKINS:            For the record
17             plaintiffs do not agree necessarily
18             that that is the original version.
19                      (Whereupon, the above-mentioned
20             Document bearing Bates numbers TSI 79
21             through 179 was marked Plaintiffs'
22             Exhibit 8 for identification.)
23                      MR. CASAMENTO:              Okay.
24      CONTINUED EXAMINATION BY MR. HAWKINS:
25             Q.       Okay.

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